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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION


                       CASE NO. 1:17-CV-24284-SINGHAL/REID


    MICHAEL FOX, on behalf of himself
    and all others similarly situated,

          Plaintiff,

    v.

    THE RITZ-CARLTON HOTEL
    COMPANY, LLC,

          Defendant.




    DEFENDANT’S MOTION FOR LEAVE TO FILE SUR-REPLY TO RESPOND TO
     NEW ARGUMENTS RAISED FOR FIRST TIME IN CERTIFICATION REPLY
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         Defendant Ritz-Carlton hereby requests leave to file the attached Sur-Reply in support of

  its Opposition to Plaintiff’s Renewed Motion for Class Certification. Ritz-Carlton seeks to file

  this Sur-Reply to address new arguments and representations of the record Plaintiff raises for the

  first time in Reply and to address Plaintiff’s representations concerning the record.

         By way of background, this matter was assigned to the Court from Judge Cooke’s docket

  after Her Honor’s tragic passing. While Judge Cooke was ill, she referred several pending motions

  to the assigned Magistrate Judge, including cross motions for summary judgment and a motion for

  class certification. ECF 123. The Court ruled on all pending motions but the certification motion,

  and Chief Judge Altonaga, on Judge Cooke’s behalf, then ordered the parties to re-brief that issue

  so the parties could address the impact of the Court’s other orders on certification. ECF 130, 138,

  142, 150, 151, 152. Judge Cooke likewise referred the renewed certification motion to the

  Magistrate Judge for a report and recommendation. ECF 156. The matter was then reassigned to

  this Court with the renewed certification motion still pending and referred to the Magistrate Judge

  for a report and recommendation. ECF 187.

         Good cause exists to permit Ritz-Carlton to file the attached Sur-Reply. Specifically, Ritz-

  Carlton seeks to submit this additional briefing to respond to the following:

        For the first time in Reply, Plaintiff argues contrary to law that a jury can simply “sample”
         menus and receipts provided to Ritz-Carlton customers. Ritz-Carlton should be allowed to
         respond to this novel sampling theory, which is contrary to law and does not solve
         Plaintiff’s predominance problems in any event. See, e.g., Villarino v. Pacesetter Pers.
         Serv., 2022 WL 2308701, at *5 (S.D. Fla. May 20, 2022) (Singhal, J.) (concluding that
         “individual questions predominate” and denying certification).

        For the first time in Reply, Plaintiff misstates both the evidentiary and procedural record
         in this case. He attempts to revive his per se FDUTPA claim, which this Court has already
         rejected. And he claims Ritz-Carlton relies on “a mere 21 receipts” when the actual number
         is well over 200. Ritz-Carlton should be permitted to respond to the Reply’s entirely new
         legal arguments and misstatements of the record.




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         For the first time in Reply, Plaintiff misstates the law and invites the Court to commit
          reversible error by ignoring binding Eleventh Circuit authority that requires the Court to
          account for individualized issues of standing.

         After Ritz-Carlton filed its opposition, new case law was published confirming that
          Plaintiff cannot prove typicality or adequacy, because disputes about his individual claims
          and “multiple contradictions in [the named Plaintiff’s] testimony” will “become a major
          focus” of the trial, resulting “in less attention” to class issues. Trim v. Mayvenn, 2022 WL
          17584237, at *2 (N.D. Cal. Dec. 12, 2022).

          In sum, given that Plaintiff “raises new arguments in [his] reply brief,” Ritz-Carlton

  respectfully requests leave to file the attached Sur-Reply1 to ensure that it has an opportunity to

  fairly respond. See First Specialty Ins. v. 633 Partners, 300 F. App’x 777, 788 (11th Cir. 2008);

  see also Owens v. Metro. Life Ins., 323 F.R.D. 411, 414 (N.D. Ga. 2017) (sur-replies appropriate

  “where a movant raises new arguments or facts in a reply brief, or where a party wishes to inform

  the Court of a new decision or rule implicating the motion under review”); Baltzer v. Midland

  Credit, 2014 WL 3845449, at *1 (S.D. Fla. Aug. 5, 2014) (“A reply memorandum may not raise

  new arguments or evidence”); see also L.R. 7.1(c)(1) (a “reply memorandum shall be strictly

  limited to rebuttal of matters raised in the memorandum of opposition”). Indeed, this is not the

  first time Plaintiff raised new matters in a reply regarding certification. He did so in his reply in

  support of the original certification motion. The Court thus granted Ritz-Carlton the opportunity

  to respond in a sur-reply, underscoring that the Court should do so again here. ECF 97 (motion

  for leave to file sur-reply regarding original certification motion); 112 (granting motion for leave),

  113 (sur-reply regarding original certification motion).

          Respectfully submitted this 10th day of February, 2023.

                                                 /s/ Peter F. Valori
                                                 Peter F. Valori
                                                 Florida Bar No. 43516

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    The Sur-Reply is attached as Exhibit 1 pursuant to CM/ECF Administrative Procedures Rule
  3I(1), which states in relevant part that “[i]f a document to be filed requires a motion requesting
  leave of Court . . . the proposed document shall be submitted as a PDF attachment to the motion.”
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                                     RULE 7.1 CERTIFICATION

          Pursuant to Local Rule 7.1(a)(3), Ritz-Carlton certifies that it has conferred with Plaintiff’s

  counsel in a good faith effort to resolve the issues raised in the motion and has been unable to do

  so. No other parties or non-parties will be affected by the relief sought in this motion.



                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that, on February 10, 2023, I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

  filing to all counsel of record.




                                                     By: /s/ Peter F. Valori
                                                            Peter F. Valori




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